                        Case 2:18-cr-00243-AC Document 19 Filed 12/19/18 Page 1 of 2
AO 245B-CAED (Rev. 02/2018) Sheet 1 - Judgment in a Criminal Case



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California
               UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                          v.                                           Case Number: 2:18-cr-00243-AC-2
                    MOLLY L. THAO                                      Defendant's Attorney: JESSICA GRAVES, Appointed

THE DEFENDANT:
     pleaded guilty to count(s) one of the Information.
     pleaded nolo contendere to count(s)      , which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                   Nature of Offense                                                      Offense Ended      Count
21§ 846, 844(a)                       Conspiracy to Possess Controlled Substance                         06/20/1018         One

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      .
     Count(s) 3 is dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                      Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                      12/17/2018
                                                                      Date of Imposition of Judgment




                                                                      Signature of Judicial Officer
                                                                      Allison Claire, United States Magistrate Judge
                                                                      Name & Title of Judicial Officer
                                                                      12/19/2018
                                                                      Date
                       Case 2:18-cr-00243-AC Document 19 Filed 12/19/18 Page 2 of 2
AO 245B-CAED (Rev. 02/2018) Sheet 4 - Misdemeanor Probation
DEFENDANT: MOLLY L. THAO                                                                                                         Page 2 of 2
CASE NUMBER: 2:18-cr-00243-AC-2

                                                              PROBATION
The defendant is hereby sentenced to probation for a term of:
One year term of Court Probation..

If this judgment imposes a fine, special assessment, processing fee or restitution, it is a condition of probation that Defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

While on probation, the defendant shall be subject to and must comply with the following conditions of probation:

                                                  CONDITIONS OF PROBATION
1.    The defendant's probation shall be unsupervised by the probation office.
2.    The defendant is ordered to obey all federal, state, and local laws.
3.    The defendant shall notify the court and, if represented by Counsel, your counsel of any change of address and contact number
      within ten (10) days.
4.    The defendant shall pay a fine of $3,000.00 and a special assessment of $25.00 for a total financial obligation of $3,025.00
      which shall be paid at the rate of $250.00, per month commencing on 01/15/2019, and each month thereafter by the 15th of the
      month until paid in full. Payments shall be made payable to the Clerk, U.S.D.C., and mailed to:

          CLERK U.S.D.C.
          501 "I" Street, #4-200
          Sacramento, CA 95814
5.    The defendant shall advise the Court and Government Officer through Counsel, if represented, within seventy-two (72) hours of
      being cited or arrested for any alleged violation of law.
